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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530

                                                      September 13, 2021

Dani Jahn, Esq.
Brent Mayr, Esq.
Ronald Sullivan, Esq.
Camille Wagner, Esq.
Via Email

       Re:      United States v. Patrick Montgomery and Brady Knowlton
                Case No. 21-cr-46

Dear Counsel:

        On September 13, 2021, we uploaded additional discovery materials to the case folder in
USAFx.                 The      link       to       the        materials        is        here:
https://usafx.box.com/s/n60e02woqyf4o8xe9akdutygexn8kljn The title of the subfolder is:
“DOJCB_001 2021.09.10 Capitol Breach Discovery.”

        As part of our ongoing discovery production in this case, we are producing reports from
U.S. Capitol Police (USCP) investigations of alleged wrongdoing by USCP officers on January 6,
2021. Officer names, witness names, and complainant names have been redacted. We are working
to produce a set of reports that replaces the redactions with unique identifiers for individuals whose
names have been redacted. When that process is complete, we will reproduce the documents with
the unique identifiers. Additional exhibits from these investigations are forthcoming. At this time,
we understand that a small number of investigations are still on-going, and we will provide reports
of those investigations on a rolling basis as they are concluded.

     The production includes an index in Excel and .pdf formats. The filenames reflect the
USCP OPR case number.

       This material is subject to the terms of the Protective Order issued in this case. We will
forward additional discovery as it becomes available.
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If you have any questions, please feel free to contact me.

                                             Sincerely,



                                             Elizabeth Kelley
                                             James Peterson
                                             Assistant United States Attorneys




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